




02-11-305 THRU 308-CR









 
  
  
   
    
    
    
    
    
   
  
  
  
  COURT OF APPEALS
  SECOND DISTRICT OF TEXAS
  FORT WORTH
  &nbsp;
  
 


&nbsp;

&nbsp;

NO. 02-11-00308-CR

&nbsp;

&nbsp;









 
  
  Oscar
  Trevino
  &nbsp;
  &nbsp;
  &nbsp;
  v.
  &nbsp;
  &nbsp;
  &nbsp;
  The
  State of Texas
  
  
  §
  &nbsp;
  §
  &nbsp;
  §
  &nbsp;
  §
  &nbsp;
  §
  
  
  From the 213th District
  Court
  &nbsp;
  of
  Tarrant County (1170804D)
  &nbsp;
  January
  10, 2013
  &nbsp;
  Per
  Curiam
  &nbsp;
  (nfp)
  
 


&nbsp;

JUDGMENT

&nbsp;

This
court has considered the record on appeal in this case and holds that there was
no error in the trial court’s judgment.&nbsp; It is ordered that the judgment of the
trial court is affirmed.

&nbsp;

SECOND DISTRICT COURT OF APPEALS 








&nbsp;

&nbsp;

&nbsp;

PER
CURIAM








&nbsp;

&nbsp;

&nbsp;


 
  
  
   
    
    
    
    
    
   
  
  
  
  COURT OF APPEALS
  SECOND DISTRICT OF TEXAS
  FORT WORTH
  &nbsp;
  
 


&nbsp;

&nbsp;

NO. 02-11-00305-CR

NO. 02-11-00306-CR

NO. 02-11-00307-CR

NO. 02-11-00308-CR

&nbsp;

&nbsp;


 
  
  Oscar Trevino
  
  
  &nbsp;
  
  
  APPELLANT
  
 
 
  
  &nbsp;
  V.
  &nbsp;
  
 
 
  
  The State of Texas
  
  
  &nbsp;
  
  
  STATE
  
 


&nbsp;

&nbsp;

----------

FROM THE 213th
District Court OF Tarrant COUNTY

----------

MEMORANDUM
OPINION[1]

----------

Appellant
Oscar Trevino pled guilty to three counts of burglary of a habitation and one
count of aggravated robbery, all containing a repeat offender allegation.&nbsp; The
trial court sentenced him to twenty years’ confinement for the aggravated
robbery conviction and to fifteen years’ confinement for each burglary
conviction, with all sentences to be served concurrently.

Appellant’s
court-appointed counsel has filed a motion to withdraw as counsel and a brief
in support of that motion.&nbsp; In the brief, counsel avers that, in his
professional opinion, these appeals are frivolous.&nbsp; Counsel’s brief and motion
meet the requirements of Anders v. California[2] by presenting a
professional evaluation of the records demonstrating why there are no arguable
grounds for relief.[3]&nbsp;
Although provided the opportunity, Appellant did not file a pro se response to
the Anders brief, and the State likewise declined to file a brief.

After
an appellant’s court-appointed counsel files a motion to withdraw on the ground
that an appeal is frivolous and fulfills the requirements of Anders,
this court is obligated to undertake an independent examination of the record
to see if there is any arguable ground that may be raised on his behalf.[4]&nbsp; Only then may we
grant counsel’s motion to withdraw.[5]

Because
Appellant entered an open plea of guilty, our independent review for potential
error is limited to potential jurisdictional defects, the voluntariness of his
plea in each case, error that is not independent of and supports the judgment
of guilt in each, and error occurring after entry of each guilty plea.[6]

We
have carefully reviewed counsel’s brief and the appellate records.&nbsp; We agree
with counsel that these appeals are wholly frivolous and without merit; we find
nothing in the appellate records that arguably might support these appeals.[7]&nbsp; Accordingly, we
grant counsel’s motion to withdraw and affirm the trial court’s judgments.

&nbsp;

&nbsp;

PER CURIAM

&nbsp;

PANEL:&nbsp;
DAUPHINOT,
MCCOY, and MEIER, JJ.

&nbsp;

DO
NOT PUBLISH

Tex.
R. App. P. 47.2(b)

&nbsp;

DELIVERED:&nbsp; January 10, 2013









[1]See Tex. R. App. P. 47.4.





[2]386 U.S. 738, 87 S. Ct.
1396 (1967).





[3]See Stafford v. State,
813 S.W.2d 503, 510–11 &amp; n.3 (Tex. Crim. App. 1991).





[4]See Stafford, 813
S.W.2d at 511.





[5]See Penson v. Ohio,
488 U.S. 75, 82–83, 109 S. Ct. 346, 351 (1988).





[6]See Monreal v. State,
99 S.W.3d 615, 620 (Tex. Crim. App. 2003).





[7]See Bledsoe v. State,
178 S.W.3d 824, 827–28 (Tex. Crim. App. 2005).







